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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

                             Civil Action No. 16-cv-00455-WYD-MEH

  PTG NEVADA, LLC
  a Nevada limited liability company,

         Plaintiff,
  v.

  DUFF KNOTT,
  an individual resident of the State of Colorado

         Defendant.



                      STIPULATION TO DISMISS CASE WITH PREJUDICE


         Pursuant to F.R.C.P. 41(a)(1)(A)(ii), the Parties, appearing through their respective

  counsel, stipulate to dismiss all claims and counter claims in this case, with prejudice, each party

  to bear their own costs and attorney fees.

         DATED this 28th day of September, 2016.


  BY THE PARTIES:


   /s/ Scott T. Kannady                                /s/ Jonathan LA Phillips
   Scott T. Kannady, Atty No. 29995                   Jonathan LA Phillips
   Brown & Kannady, LLC                               John T.D. Bathke
   2000 S. Colorado Blvd., Suite 2-440                Shay Phillips, Ltd.
   Denver, Colorado 80222                             456 Fulton Street, Suite 255
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   Attorneys for Plaintiff
                                                      Attorneys of Defendant
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 28, 2016, I electronically filed the above document with

  the Clerk of Court using CM/ECF which will send electronic notification of such filing to all

  registered counsel.

         Jonathan LA Phillips
         Shay Phillips, Ltd.
         456 Fulton Street, Suite 255
         Peoria, Illinois 61602


                                              /s/ Michelle Dickey
                                              Michelle Dickey
                                              Original Signature on File
